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                                                                       /      RE*ET,ED U
                                IN THE                                             0Ee   1 1 tr01?

                     UNITED STATES DISTRICT COURT                             THOMASG. BRUTON
                               FOR THE                                     CLERK, U.S" DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

Carlen Colbert                                         civil Action# [-]     CV Artpp)
                                                       Hon:
Plaintiff
                                                         QnC -teS           R. qr)\-E\               e_
  V

Pamela E.Loza, Michael I. Bender, Timothy C.
Evans, Grace Dickler, Anton Colbert

                                                 Jury Demand: $6.9 Million Dollars

Defendants




                           Asfvre.-Qt_C\
                    Complaint of Civil Rights Violations
                      Trespassing of the Laws
                              Treason
                        Jim Crow Violations
                     Judicial Corruption Conspiracy
                     Unequal Protection of the Laws

To the Honorable Judges of the United States District Court for the Northern District:

       Complainant a United States Citizen, Carlen Colbert, hereby respectfully represents
     as Pro Se shows this court with corroboration/admissions and affidavit the noted
     reasons why this matter should be within this court's Jurisdiction; {Pursuant to (A)
     Colot (Title Vll of the Civil Rights Act of 1964 and 42 U.S.C. 1981)
      (B) Race (Title V1l of the Civil Rights Act of 1964 and 42 U.S.C. L981)
 Racial Disctimination, Raciat Retaliation, Racial Flatred, Racial Opptession, Civil
Rights Violations, Unequal Applications of the Laws, and Disparate Tteatment on the
basis of race, color or national origin (42 U.S.C. 1981).

 This court has Jurisdiction over the statutory violation alleged as confered as follows: over
Title V1l claims by U.S.C. {1331, 28 U.S.C. $3a3 @) (3), and 42 U.S.C. {2000e-5 (r) (3);
ovet 42 U.S.C. {1981 and {1983 by 42 U.S.C. {1988; over the A.D.E.A. by 42 U.S.C.
{12L17\.
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 1.) Inaddition, alleged violations of the noted Sections the 7th Cir. Held that the Cook
     County Courts were a Criminal enterprise. U.S. v. Murphv,768 F. 2d 1518,
     1531 where precedent was enacted bv Judqes Frank H. Easterbrook, Richard
     D. Cudahv and former Chief judqe Luther Menitt Swvqert;


     TRHSPA$SERS OF' THH LAV[/
     "Ihe {llinois Suprerne Court has held that "if the magistrate has not sush
     jurisdiction, then he and those who advise and act with him, or execute his
     Xrrocess, are trespassors." Von l(ettler et.al" v. .lohnson, 57 III. 109 (1870)
     Under Federal larn, which is applicable to all states, the ll.S" Supreme Court
      stated that if a cnurt is "without authority, its judgments and orders are
      regarded as nullities. 'l-lrey are not voidable, but sinrply voicl; and f,orrn no
      bar to a recovery sought, even prior to a reversal in opposition to them.
      'I'hey constitute no justificatir:rr; and allpersons concetned in executing such
     judgnrer:rts or senterlces, are considered, in law, as trespassers"" Elliot v"
      Piersol, 1 Pet" 328,340,26 U.S.328,340 (1828)

     The lllinois Supreme Courl held that if a courl "coulct not hear the matter
     upon the jurisc{ictional paper presented. its finding that it had the porver can
     add nothing to its authority, - it had no authority to make that {"rnding."'I'he
     People v. Rrewer" 128 lll. 472,483 (1928).

In addirion. when.iudges act when they do not have jurisdiction to act. or they
enforceavCIi.dorder(anorderissuedbyajudgewithoutjurisdiction},they
become tr"espflssers of the law, and are engaged in treason (see below).

The C*uffi in Yates v. Villagernf Hoflfman Estates, Illinoi$, 209 F: Sury1..?5-7 ._ . .
(N.l). Ill" 1SS2) held that "not every eetion by a judg* is in exer*ise of his judi*ial
tunstion. ^". It is not aiudicial t-unction far a judge to commit.an ifitsntional tofi
cven though the tort occurs in the couflhous*." Wh"n a judge acts as a trespasser
alf the Xaw" rryhen ajudge rloes ncit ftrllow the traw, the jurlgc loses subj*ct-matter
jurisdiction and the jx$ge's ordei's are void, of no legal fnrce or effbct.

The U.fi. [iupreme C*urt",in $cheuer: v. Rhortes,416 lJ"5.232,94 S. Ct. I683,
 l6S7 ( 1974) stated that "w'hen a state oftjcer acts under a state law in a rnanner
violative of the Fnderal Cnnstittrtion, he "come$ inl* conflict with the superiar
authcrity of that Constituti*n, and he is in that case stripped of his oftlcial ol
representative chnrncter and is subjectnd in his person to the consequences of his
{*dividual cnnduct. 'l-he State has no power to inrpart t* lr,irn any imrnunity' konr
r*sp*nsibility tn tlre supren:re authCIrjty *f the Unitrd $tates.t' [Hmphasis supplied
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i* niisi l$,my"ir*, a judge ir u itate,E   iory         ffiaitsirutas    ajudee;



To: Pamela E. Loza 50 West Washington, Chicdgo,IL 60601 Room
3009;
    Michael I. Bender,70 West Madison, Suite 2222 Chg. IL 60602,
    Timothy C. Evans 50 West Washington, Chg. IL. 60601 Room
2600;
    Anton Colbert, 140 Percy Julian Sq., Oak Park, IL. 60302-26L9
    Grace Dickler 50 West Washington, Chg, IL 60601 Room 1905;
    Debra B. Walker, 50 West Washington, Chg. Il 60601 Room 2108




         PLEASE BE ADVISED that on November 21,2017, A Civil Rights
Complaint has been filed before the United States District Court.

                                     Respectfully Submitted

                                       On      C,   ,       OaG         ut*
                                           Carlen Colbert
                                        1805 Jamestown Cit.
                                      Hoffman Estates, LL.    601, 69
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                                   IN THE
                 UNITED STATES DISTRICT COURT
                           FOR THE
                 NORTHERN DISTRICT OF ILLINOIS
                       EASTERN DIVISION


                      CERTIFICATE OF SERVICE

 I   Carlen Colbert, certify that I have on this day filed said Notice of Civil
 Complaint and Jurisdictional Statement before the Northern District Court of
 lllinois.




  Dated November 21,2017




                                                        Garlen Colbert
                                                         Pro Se
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                               IN THE
                    UNITED STATES DISTRICT COURT
                              FOR THE
                    NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

Carlen Colbert                                    Civil Action #

                                                  Hon:
 Plaintiff

  V

Pamela E.Loza, Michael I. Bender, Timothy C.
Evans, Grace Dickler, Anton Colbert




Defendants




                    CNIL RIGHTS COMPLAINT            ET AL

                         Ju   risdictional Statement
Order entered: Nov. 8, 2017
Notice of Civil Rights Complaint: Nov. 21,2017

Statute: Treason, Trespassing upon the Laws, Unequal Protection of the
Laws Violations, Disparate Unequal Protection of the Laws, Civil Rights
Violations, Jim Grow Violations, Judicial Abuse of Discretion, Racia!
Terrorism Gonspiracy, Perjury, Admission of all facts by all Defendants, No
Objections by any Defendants, Public, Political, Fraternal Corruption
Conspiracies, Fraud on the Courts and other Un-Gonstitutional Lawless
Violations.

  Plaintiff is appealing to the United States District Gourt, for a reversal and
remand with instructions based on the foregoing stated above:

  The United States District Court has the Jurisdiction, to correct any error, and
establish any precedent in the law where deemed necessary, without fear of
reprisals from any political organization, terrorist fraternal orders, elected or
othenruise, for the mandate of their decision;
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  The United States District Court has the Jurisdiction and Wisdom to recognize
when an individual has not been afforded sapiency in accordance to the United
States Constitution

Plaintiff is before the United States District Gourt because as a"Pro Se" "lnforma
Pauper's" the admissions recorded in this instrument demonstrates under the
lllinois Legal system Black and Brown lives don't matter and the Jim Crow methods
still being exercised criminalizing persons of color for attempting to rise above
racial injustice perpetrated on innocent persons.

Plaintiff is before the United States District Court because of the color of her skin
all defendants have admitted to all criminal acts and civil rights violations but the
judges have ignored all admissions affidavits, the Laws and laws the United States
Constitution and Plaintiffs Civil Liberties, validating the veracity Plaintiff is a nobody
merely because of her skin color, every ruling has been dispensated according to
racial political guidelines;


For all of the aforementioned reasons is why Plaintiff is before the United States
District Gourt for Jurisdiction and Enforcement.

I affirm   the above as being true.



                                              Respectfully Submitted, Pro Se

                                             Oa-,-(n,            Q{cq,.l
                                                          Colbet
                                                      Caden
                                                   1805 Jamestown Cir.
                                                  Hoffman Estates, lL. 601 69
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                                   IN THE
                        UNITED STATES DISTRICT COURT
                                  FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

                                       AFFIDAVIT

                       ln support of Civil Rights Complaint et al.

{Pursuant to 28 U.S.C.A. 1aa6 (a)}

I Carlen Colbert., Pro Se, being duly sworn on oath states: That all Defendant's
acted knowingly, intentionally, committed "Treason" "Trespassed upon the
Laws" willfully and maliciously, due to her skin color and because they were within
the Democratic Political Machine and deemed themselves untouchable
:

          A-    Pursuant to Sup Ct. Rule 272 " if at the time o-f announcins -final .iudsment the
               .iudee requires the submission of a-form qf written-iudgment to be siqned by
                the judge et al" the judgment becomes -final onlv when the signed judgment is
               fikd-    Judges are bound by this rule before their court orders are valid;

      1.) That on Oct. lO,2017 , Plaintiff filed Motion for Disqualification of Judge for
             Gause Due to "Fraud" (Civil Rights Violations) and or Preiudice
             pursuant to S.H.A. 735 ILCS 512 ---1001 (a) (2,31and to Vacate all
                Orders due to "Trespassing upon the Laws" Court never had
                           Jurisdiction Orders are "Void" a "Nullity"

     2.) That pursuant to Page 4, 5 Par. 1, That because it is an norm for judges to
         violate their oath and commit "Treason" "Tresoass uoon the             willfully
         acting as Terrorist , judge Loza allowed
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        fabricated admissions full of inconsistencies from Respondents brother
        and colleague judge/attorney(Michael I Bender) she appointed as child
        rep which corroborates these very criminal acts as active collusion, and
        demonstrates Bias and Prejudiced conduct surpassing the
        Preponderance of Evidence legal standard required in this matter where
        "Fraud" is concerned;
          A- Hereto attached, Ex A, DCFS (June 20. 2012) Investieation of
          Suspected
               Child Abuse or Neglect-No Action:

          B-   That   said DCFS Administrator (Rosa Friaz) informed the Respondent,
               "she informed her brother ifhe report any more allegations ofabuse against
               his sister, she was going to bring him up on charges";

  3.)    That Petitioner (Robert Stafford) appeared before judge Loza June 15,
        2015, hereto attached, Ex B, said court order was not only false but it
        was in violation Sup Ct Rule 272 it was not signed;

  4.)    That former judge (Michael I Bender) filed a "Fraudulent Emergency Ex
        Parte Motion et al., hereto attached;
         A- That Par 4 states "In May of 2012 DCFS opened an investigation et a!".,
             this is an egregious falsehood, in that there was never an investigation
             opened against the Respondent for any reason;

  s.)     That the aforementioned parties colluded in an ttorganized Conspiracy" and
        abducted Plaintiffs child and giving him to her brother in an unlawful bizarre
        manner!

  6.)     That Gr Ex 1, hereto attached, Motion to Return Minor back into Custody of
        Mother (Defendant) Instanter Due to "Fraud" "Kidnapping" et al. That no one
        DENIED or objected to any of the pleadings properly asserted thereby admitting
        to the veracity of every pleading.

  7.) Hereto attached as Gr Ex B,       In Re The Parentage of Clarence Parker v. April
        Redeaux, Motion for Disqualification of judge for "Cause" Due to'(Fraud"
        (Civil Rights Violations) and or Prejudice pursuant to S.H.A. 735ILCS 512---
        1001 (a) (2r3) and to Vacate all Orders due to (Trespassing upon the Laws"
        Court never had jurisdiction et al. Page 10, Par 10, states "That judge Karen J.
        Bowes satisfied the Preponderance of Evidence Standard by taking part in an
        "Organized Conspiracv" by interfering and unlawfully obstructing with
        Respondents parental responsibility keeping her from having custody per judge
        Walker's order, in an attempt to keep blackfamilies stressed oppressed exercising
        terrorist tactics thereby, validating the veracity of colluding with said parties in
        said conspiracy where "Fraud" and "Perjury" was apparent in reference to all
        attachments; "
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   8.) That in addition to the aforementioned acts of "Treason Offenses" former judge
       now Child Rep (Michael I. Bender) attorney is now trying to EXTORT money
       from the Plaintiff hereto attached, Gr Ex C Petition for Rule to Show Cause for
       Indirect Civil Contempt (Filed September 14 and Motioned for September 15,
       20t7)
           A- Plaintiff had her fees waived but Michael Bender being a former judge
               knew how to "Trespass upon the Lawst'by colluding with Judge Loza,
                  she became a law unto herself by acting as a Private citizen and not as a
                  Judicial Officer of the State of Illinois violating her oath in every way.

   9.) That Par A of Page 10, states " Democratic judges in lllinois are still enforcing
       Jim Crow laws outlawed by the United States Supreme Court";

   10.)                   Gr Ex , B In Re The Parentage of Clarence Parker v. April
                  Pursuant to
       Redeaux. 12 D 8436, (Judge Karen Bowes) Motion for Disqualification of Judge
       for Cause due to "Fraud" (Civil Rights Violations) and or Prejudice pursuant to
       S.H.A. 735 ILCS 5/2-1001 (a) (2.3) and to Vacate all Orders due to
          ooTrespassing
                        upon the Laws" Court never had Jurisdiction Orders are "Void"
          Judge Gregory Emmitt Ahern, Jr. ignored the Defendants unchallenged Affidavits
          stated, "Judge Bowes did not do anything wrong" and that the laws indicated
          were generalizations ". Denied the Motion.

   I 1.)          Pursuant to the Notice of Service hereto attached, are the court orders of
          Oct. 17,2017 Associate Judge Karen J. Bowes did not sign the court order
          transferring the matter to the presiding judge in violation of Sup Ct Rule 272,
          Directed Evidence of Trespassing upon the Laws;

   t2.)           Pursuant to the Presiding Judge transferring the matter to judge Ahern       it
           was not signed in violation to Sup Ct. Rule 272,Directed Evidence of
           Trespassing upon the Laws;

    13.)          That Associate Judge Gregory Emmett Ahern, Jr. became complicit in an
           "Organized Conspiracy" Denied the Motion with his certified signature
           corroborating his role "Trespassing upon the Laws" enforcing a void order
           deemed a nullity;

    14.)        That said judges engaged in an illegal "Organized       Conspiracy"
        totrespassed upon the laws".


Section 1983 of U.S.C.S. contemplates the depravation of Civil Rights through the
Unconstitutional Application of a Law by conspiracy or otherwise. Mansell v. Saunders
(CA 5 F 1A) 372F 573, especially if the conspiracy was actually carried into effect,
where an action is for a conspiracy to interfere with Civil Rights under 42 U.S.C.S. 1985
(3), or for the depravation of such rights under 42 U.S.C.S. 1983, if the conspiracy was
actually carried into effect and plaintiff was thereby deprived of any rights, privileges, or
immunities secured by the United States Constitution and Laws, the gist of the action



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may be treated as one for the depravation of rights under 42 U.S.C.S. 1983, Lewis v.
Brautiqam (CA 5 F 1a) 227 F 2d 124,55 Alr 2d 505, John W. Strong, 185,777-78 (4the
ed. 1992).


   15.)          That said mother another Plaintiff had to file a Complaint in Federal Court
          17 cv- 08060 Judge Virginia M. Kendall, Magistrate Susan E. Cox filed Nov. 7,
          2017, she too had her son taken from her unlawfully.

   16.)        That the Chief Judge Judge being an African American Negroe or Black
        Man has received Notice and Knowledge of the aforementioned violations of the
       judges engaging in a plethora of criminal violations "Trespassing upon the laws
        engaging in Treason" has closed his eyes and ears to the injustices perpetrated
        on innocent persons ofcolor so as to keep collecting a paycheck.

            A- The Illinois Supreme Court helcl that if'a court "could not hear the
               matter upon the jurisdictior:al paper presented, its finding that it had
                the power can add nothing to its authorify, - and it had no authority
                to make that tinding." The People v. Brewer.128lll.472,4B3
                (re28).

                When judges act when they do not have jurisdiction to act, or they
                enforce a void order (an order issued by a judge without
                jurisdiction), they become trespassers of the law, and are engaged in
                treason.

    17.)        That Plaintiff did not have to file a Post-Trial Motion for Reconsideration
          because pursuant to Gr Ex D Page 4 the Plaintiff in that matter, due-diligently
        filed a motion to Disqualify Judge Valderrama for ooCause" et al. the Democratic
       judges closed their eyes to said judges unlawful acts as they became "trespassers
        making their orders void a nullity"

    18.)           That Plaintiff did not need to file an Appeal because this was not a matter
           involving a legal issue but a criminal and Federal issue, in that, said Plaintiff due-
           diligently filed an Appeal a Motion Corroborating'oFraud" and Domestic
           Terrorism in the Courts et al. Pursuant to Gr Ex B, The Appellate Court Judges
           closed their eyes to the Civil Rights violations and other judges trespassing upon
           the laws became'6trespassers" themselves making their orders void a nullity;

    1e.)            That Plaintiff did not need to file a Writ of Mandamus/Supervisory Order
           to the Illinois Supreme Court compelling the lower courts to comply to the rules
           of law because someone form the Illinois Supreme Court mailed to the Plaintiff a
           blank court order denying the Mandamus/Supervisory Order further validating the
           verity of the County Courts being a Criminal enterprise and further validating said
           order was the act ofjudges in the Supreme Court part of an "Organized



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      Conspiracyt'engaging in ttTreasontt ttTrespassing upon the laws" making
      their order void a nullity.

   20.)       That two elderly retired public servants had to litigiously fight and defend
      themselves in court as Judge Lyle is "trespassing upon the laws" engaging in
      "Treason" helping bank attorneys hereto attached Gr Ex C Respondents
      Response Motion Repllz Objecting Judge Lyle's Court Order due to her and &
      Plaintiffs' Attorneys "Trespassing upon the Laws" Judge Acting as a Private
      Citizen entering Court Orders Void a Nullity dAffidavit.

   21.) That another Plaintiff filed a Complaint in the District Court Lee Oties Love,   Jr.
       v. Supreme Court of lllinois, Pamela Loza, Luciano Panici, James P.
      Murphy, Joshua P. Haid Case 17-cv- 05482 Complaint of Civil Rights
      Violations
                  Trespassing of the Laws
                          Tteason
                    Jim  Crow  Violations
                 Judicial Coruption Conspiracy
                 Unequal Protection of the Laws

   22.)        That due to the aforementioned it was imperative that the Federal
      jurisdiction be ascertained promptly because all other venues are deemed moot.

          A-   That said Directed Evidence of Democratic judges described in said
               Exhibits demonstrates how judges not having jurisdiction on the Plaintiff or
                                                                              ('Trespass
               any other Plaintiffs 'are willing to engage in "Treason" and
               upon the Laws" violate their oaths in office so as to Induce others to
               become complicit in an "Oreanized Conspi            lnducing Reliance on
               other agencies and offices because of their criminal Civil rights actions.

               Section 1983 of USCS contemplates the depravation of Civil
               Rights through the unconstitutional application of a law by
               conspiracy or otherwise. Mansell V. Saunders (CA 5 FLa) 372 F
               2d 573, especially if the conspiracy was actually carried into
               effect and plaintiff was thereby deprived of any rights
               privileges, or immunities secured by the Constitution and laws,
               the gist of the action may be treated as one for the depravation
               of rights under 42 USGS 1983 Lewis V. Brautigam (CA 5 Flal227
               F 2d 124,55 Alr 2d 505.



DEMOCRATIC PARTYHAS ROOTS IN
VIOLENCE, RACISM AND BIGOTRY
                                                  lr'i   tr




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History can be an annoying, pernicious thing. Especially for those who try to hide
it.
When I read this morning that a high school in the South was going to drop its
racist, confederate name, I immediately thought of Democrats Strom Thurmond
or Robert Byrd, who were Klan members and staunch segregationists.
But no... the school is Nathan B. Forrest High School in Jacksonville, Fla.
Forrest was a Confederate General and a leader of the Ku Klux Klan.

I decidedto research a little bit into General Forrest and it turns out he was
honored at the 1868 Democratic National Convention. ln fact, the KKK was
founded by Democrats to terrorize blacks and white Republicans.

The history of the Democratic Party is rooted in racism, violence, lynchings and
bigotry. The National Review published an article detailing the racist history of
the Democratic Party:
May 22, 1856: Two years after the Grand Old party's birth, U.S. Senator Charles
Sumner (R., Mass.) rose to decry pro-slavery Democrats. Congressman Preston
 Brooks (D., S.C.) responded by grabbing a stick and beating Sumner
unconscious in the Senate chamber. Disabled, Sumner could not resume hts
duties for three years.

July 30, 1866: New Orleans's Democratic government ordered police to raid an
integrated GOP meeting, killing 40 people and injuring 150.

September 28, 1868: Democrats in Opelousas, Louisiana killed nearly 300
blacks who tried to foil an assault on a Republican newspaper editor.

OctoberT, 1868: Republicans criticized Democrats'national slogan: "This is a
white man's country: Let white men rule."

April 20, 1871: The GOP Congress adopted the Ku Kux Kan Act, banning the
p ro- De moc rat do m e stic te rro ri st g ro u p.


October 18, 1871 : GOP President U/ysses S. Grant dispatched federal troops to
quell Klan violence in South Carolina.

September 14, 1874; Racr'sf white Democrats stormed Louisiana's statehouse fo
oust GOP Governor William Kellogg's racially integrated administration; 27 are
killed.

August 17, 1937: Republicans opposed Democratic President Franklin Delano
Roosevelt's Supreme Court nominee, U.S. Senator Hugo Black (D., Al.), a former
Klansman who defended Kansmen against race-murder charges.



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February 2005: The Democrats'Klan-coddling today is embodied by KKK
alumnus Robert Byrd, West Virginia's logorrhea U.S. senator and, having serued
 since January 3, 1959, that body's dean. Thirteen years earlier, Byrd wrote this to
the KKK's lmperialWizard: "The Klan is needed today as never before and I am
anxious fo see its rebirth here in West Virginia." Byrd led Senate Democrats as
late as December 1988. On March 4, 2001, Byrd told Fox News's Tony Snow:

 "There are white niggers. l've seen a lot of white niggers in my time; l'm going to
use that word." National Democrats never have arranged a primary challenge
against or otherwise pressed this one-time cross-burner to get lost.
Contrast the KKKozy Democrats with the GOP. When former Kansman David
Duke ran for Louisiana governor in 1991 as a Republican, national GOP officials
scorned him. Local Republicans endorsed incumbent Democrat Edwin Edwards,
despite his ethical baggage. As one Republican-created bumper sticker pleaded:
"Vote for the crook: lt's important!"

 Republicans a/so have supported legislation favorable to blacks, often against
intense Democratic headwinds:

ln1865, Congressional Republicans unanimously backed the 13th Amendment,
which made slavery unconstitutional. Among Democrats, 63 percent of senators
and 78 percent of House members voted: "No."

ln 1866, 94 percent of GOP senafors and 96 percent of GOP House members
approved the 14th Amendment, guaranteeing all Americans equal protection of
the law. Every congressional Democrat voted: "No."

February 28, 1871: The GOP Congress passed the Enforcement Act, giving
black voters federal protection.

February 8, 1894: Democratic President Grover Cleveland and a Democratic
Congress repealed the GOP's Enforcement Act, denying black voters federal
protection.

January 26, 1922: The U.S. House adopted Rep. Leonidas Dyer's (R., Mo.) bill
making lynching a federal crime. Filibustering Senate Democrats killed the
measure.

May 17, 1954: As chief jusfrce, former three-term governor Earl Warren (R.,
Calif.) led the U.S. Supreme Court's desegregation of government schools via
the landmark Brown v. Board of Education decision. GOP President Dwight
Eisenhower's Justice Department argued for Topeka, Kansas's black school
children. Democrat John W. Davis, who lost a presidential bid to incumbent
Republican Calvin Coolidge in 1924, defended "separate but equal" c/assrooms.




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September 24, 1957: Eisenhower deployed the 82nd Airborne Division to
desegregate Little Rock's government schools over the strenuous resistance of
Governor Orual Faubus (D., Ark.).

May 6, 1960: Eisenhowersigns the GOP's 1960 Civil Rights Act after it suruived
a five-day, five-hour filibuster by 18 Senafe Democrats.

July 2, 1964: Democratic President Johnson signed the 1964 Civil Rights Act
after former Klansman Robeft Byrd's 14-hour filibuster and the yofes of 22 other
Senafe Democrats (including lennessee's A/ Gore, Sr.) failed to scuttle the
measure. lllinois Republican Everett Dirksen rallied 26 GOP senafors and 44
Democrats to invoke cloture and allow the bill's passage. According to John
Fonte in the January 9, 2003, National Review, 82 percent of Republicans so
voted, yersus only 66 percent of Democrats.

True, Senator Barry Goldwater (R., Ariz.) opposed this bill the very year he
became the GOP's presidential standard-bearer. However, Goldwater supported
the 1957 and 1960 Civil Rights Acts and called for integrating Arizona's National
Guard two years before Truman desegregated the military. Goldwater feared the
1964 Act would limit freedom of association in the private sector, a controversial
but principled libertarian objection rooted in the First Amendment rather than
racial hatred.

June 29, 1982: President Ronald Reagan signed a Z5-year extension of the
Voting Rights Act of 1965.

The Republican Party a/so is the home of numerous "firsfs. " Among them:
Until 1935, every black federal legislator was Republican. America's first black
U.S. Representative, South Carolina's Joseph Rainey, and ourfirst black
senator, Mississrppi's Hiram Reye/s, both reached Capitol Hill in 1870. On
December 9, 1872, Louisiana Republican Pinckney Benton Stewart "P.8.5."
Pinchback became America's first black governor.

August 8, 1878: GOP supply-siders may hate to admit it, but America's first black
Collector of lnternal Revenue was former U.S. Rep. James Rapier (R., Ala.).

October 16, 1901 : GOP President Theodore Roosevelt invited to the White
House as ifs first black dinner guest Republican educator Booker T. Washington.
The pro-Democrat Richmond Times newspaper warned that consequently,
"White women may receive attentions from Negro men." As Toni Marshallwrote
in the November 9, 1995, Washington Times, when Roosevelt sought reelection
in 1904, Democrats produced a button that showed their presidential nominee,
Alton Parker, beside a white couple while Roosevelt posed with a white bride and
black groom. The button read: "The Choice ls Yours."




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GOP presidents Gerald Ford in 1975 and Ronald Reagan in 1982 promoted
Daniel James and Roscoe Robinson to become, respectively, the Air Force's and
Army's first black four-star generals.

November 2, 1983: President Reagan established Dr. Martin Luther Kng Jr.'s
birthday as a national holiday, the first such honor for a black American.
President Reagan named Cotin Powetl America's first black national-security
adviser while GOP President George W. Bush appointed him our first black
secretary of state.

President G.W. Bush named Condoleezza Rice America's first black female NSC
chief, then our second (consecutive) black secretary of Sfafe. Jusf /asf month,
one-time Kansman Robert Byrd and other Senate Democrats stalled Rtce's
confirmation for a week. Amid unanimous GOP support, 12 Democrats and
Vermont tndependent James Jeffords opposed Rice         the most "No" votes for a
                                                        -
Sfafe designee since 14 senators frowned on Henry Clay in 1825.

By the way, if we're going to strip schoo/s of the names of racists, Strom
Thurmond High Schoot in South Carolina and Robert C Byrd high school in West
Virginia should be at the top of the list.

            Civil Rights Act of 1866- first section. enacted bv the Senate and House of
            Representatives of the United States of America in Conoress assembled.
            That all persons born in the United States and not subject to any foreign
            power, excluding lndians not taxed, are hereby declared to be citizens of
            the United States; and such citizens of every race and color, without regard
            to any previous condition of slavery or involuntary servitude, except as a
            punishment for crime whereof the party shall have been duly convicted,
            shall have the same right, in every State and Territory in the United States,
            to make and enforce contracts, to sue, be parties, and give evidence, to
            inherit, purchase, lease, sell, hold and convey realand personal property,
            and to full and equal benefit of the laws and proceedings for the security of
            person and property, as is enjoyed by white citizens, and shall be subject
            to like punishment, pains, and penalties, and to none other, any law,
            statute, ordinances, regulation, or custom, to the contrary notwithstanding,
            Act of April 9, 1866, Ch. 31 , 1, 14 Stat. 27, 42 U.S.C.A. 1981 (a).

          In the 20th century, the Supreme Court began to overturn Jim Crow laws on
         constitutional grounds. ln Buchttnan v. Warlet- 245 US 60 (1917), the court
         held that a Kentuckli law could not require residential segregation. The
         Supreme Court in 1946, in lrene Morgan v. Virginia ruled segregation in
         interstate transportation to be unconstitutional, in an application of the
         qamusragdaqsg of the Constitution. It was not until 1954 in Brown v. Board
         of Education of Topeka 347 US 483 that the court held that separate facilities
         were inherently unequal in the area of public schools, effectively overturning
         Plessy v. Ferguson and outlawing Jim Crow in other areas of society as well.
         This landmark case consisted of complaints filed in the states of Delaware
         (Gebltart v. Belton); South Carolina (Briggs v. Elliott); Virginia (Davis v.


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            Count:t $cheol Boarcl o/'Prince EdwardCounty\; and Washington, D.C.
            (Spottswode Bollinq v. C. Melvin Shat?e). These decisions, along with other
            cases such as McLaurin v. Oklaltoma State Board qf Regents 339 US 637
            (1950), NAACP v. Alabama 357 US 449 (1958), and Bqtnton v. Virginia 364
            US 454 (1960), slowly dismantled the state-sponsored segregation imposed by
            Jim Crow laws.

       As the color line itsell'solidified at the turn of the nineteenth century, Jirn Crorv
       imposed on black people clear tactical disadvantages: restricted economic
       po ssi b i l ities, narrow educati onal oppo rtuni ti es, inadequate hous ing opti on s, hi gh
       rates of death and disablement, persistent unemployment, and unrelenting
       lroverty. Inasmuch as .Iirn Crow represented the race problem described by
       (iunnar Myrdal (1898-1987) in his 1944 treatise The Arnericctn Dilemmtt, it was
       .lirr Crow that created the race quandary: whites constructed the otrstacles
       Afi'ican Americans confrontecl. while also blaming them tbr their conditions,
       denying them access to the resouroes of problem solving, and daring them-
       under tlu'eat of violence-to complain. protest, or advance.
       Finally, protests or challenges to Jim Cror.v often proved futile, given law
       enforcernent's complicity in the structure. Irrom emancipation to the tum of the
       century, the Ku Klux Klan opetated as a par:rmilitary arm of the l)emocratic
       Part,v in the South. The Klan, nightriders. red shirts, and other white terrorists
       intimidated Afi'ican Americans with personal attacks, school bumings, and
       lynching's. Atiican Americans rarely served as policemen, sheriffs, or deputies
       betirre the late I 940s. During tlre 1 950s and 1960s, the connections betrn'een
       municipal and state governments. law enlbrc,ement. and rarcial violence r,vere rvell
       knou,n by r:tficials and citizens alike. White otficers r.vere known to harass black
       people. disrupt hlack neighborhoods, and assault black women. Arrested for
       inflated charges, clenied satisfactory counsel, and serving harslr sentences,
       Afiican Americans rvere further disadvantaged in the courtroom. Rarell' did they
       receive good counsel, nor could the,v serrie on juries. When black law1vers could
       appear in the courtroom to argue cases, r.ihite judges and juries rarely lister-red.
       All*white iuries decided against blacl< def'endants, even in the most obvious cases
       of innocence, but rarely convicted r.vhite def-endants, despite evidence of guilt.
       Alrican Americans-including the innr:cent-suffered the harsher punishments
       of extendediail time. forced farm labor, and peonage. Even women could be
       placed on the chain gangs r.vorl<ing the roads aud tracks across the South.


The Chicago Daily Law Bulletin, Wednesday April 26,2006, Page 1, Illinois Political
Machines help breed corruption, Associated Press writer Deanna Bellandi states, "illinois
is apparentbt a Petri dishfor corruotion. It is a real breedins g'ound".

That Chicago is the most Corrupt Ci\) in America. Huffington Post, Internet Newspaper,
February23,2012;UniversityofIllinoisProfessorDickSimpson,,,W
zones in   Illinois are the governor's mansion.....and the Citv Council Chambers in




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l,ls.   "_

             Turner 24 F. Cas. 337 (No. 14247) C.C.D. Md. 1867) The "equal benefit" clause
             is cited in what would appear to be the earliest reported case enforcing the
             section. The plaintiff was an emancipated slave who was indentured as an
             apprentice to her former master. Although both whites and blacks could be
             indentured as an apprentice, under the law of Maryland, indentured blacks were
             not accorded the same educational benefits as whites and, unlike whites, were
             subject to being transferred to any other person in the same county. Circuit
             Judge Chase granted a writ of habeas corpus upon finding that the purported
             appienticeship was in fact involuntary servitude and a denial under the Civil
             Rights Act of 1866 of the "full and equal benefit of all laws.

        23.)        Despite the United States Constitution and Civil Rights Act Plaintiff has
             not been treated as a citizen of the United States in that whites under this Political
             System has been able to circumvent the laws and commit Terrorist Acts of
             Treason Trespassing upon the laws at will because they are the majority in control
             of Chicago, Il1. Political system;
                      A- That because Plaintiff complained and fought back the terrorists in
                          the legal system abducting her child now he is trying to extort money
                          from her so as to pay Michael L Bender;


                          That said judges are now validating the verity of many of them
                          committing "Treason Trespassing upon the laws" of the
                          United States Constitution engaging in "WAR" against the
                          United States Constitution making every order rendered
                          against the Petitioner. lf a iudqe does not fully complv with the
                          (lonpfihfiion fhcn his ordcrs are void ln re Sawver. 124 U.S.
                          200 (18881, he or she is without iurisdiction, and he/she has
                          enqasediM

        24.)           That said case demonstrates multiple acts of systemic applications of
             constitutional violations, in that judges and State Agencies acted as decision
             makers possessing final authority, Brown v. Bryan County, OKL., 67 F.3d 1174
             (1995), Stokes v. Bullins, 844 F . 2d 269,275 (sth Cir. 1988), Wassum v. City of
             Bellaire, Texas, 861 F. 2d 453,456 (5th Cir. 1988), Benavides v. County of
             Wilson, 955 F. 2d 968, 972 (sth Cir.) ceft. denied,- U.S.-, 113 S'Ct. 79,121 L.
             Ed.2d 43 (1992), "Liability will accrue for the acts of a municipal official when the
             official possess "final policymaking authority" to establish municipal policy with
             respect to the conduct that resulted in a violation of constitutional rights. Pembaur
             v. City of Cincinnati,4T5 U.S. 469, 483,106 S. Ct. 1292,1300, 89 L.Ed. 2d 452
                        A- That their appears to be a systemic pattern of racial retaliation upon
                            black women fighting back racial injustice in the courts hereto
                            attached, Gr Ex C elderly retired female senior citizens fighting to




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;


                        keep their home as crooked    a judge (trespassing upon the laws"
                                                                                o'Foreclosure"
                        helping the bank try to still their home disguised as a

       2s.)        Lynching has taken on a different identity as demonstrated in this case
           while groups of whites stand by frolicking at a Black man hanging from a tree
           from a rope, racial injustice where several judges are trying to Bully and
           intimidate the Plaintiff because she is fighting to get her child back without using
           violence.

       26.)        The same level of Democratic Racial Hatred is still being spewed in a
           Terrorist manner as many are still ignoring the plights of innocent persons of
           color victimized by these same acts.

          In the wake of extensive investigations by Federal Law enforcement authorities
          revealing widespread corruption in the Illinois court system ("Operation
          Greylord") and elsewhere, indicating not only that significant professional
          misconduct was occurring but also that the requirement to report misconduct was
          frequently ignored, particularly in the cases ofjudges with regard to the conduct
          of other judges.

       27.)        That by virtue of the legal standard Preponderance of the Evidence the
           Law is clear judges have committed fraud on all legal entities and has done so
           with Contempt for the laws of the United States Constitution, in that due to their
           ethnicity and political affiliation to the "Democratic Political Machine" makes
           them invincible and untouchable by any court on the state side.

       28.)       That Pursuant to Sup Ct. Rule 272 "if at the time qf announcing -final
          judgment the judge requires the submission qf a-form qf written-iudgment to be
           signed by the iudqe et al" the judgment becomes -final onb) when the signed
           iudsment is.filed- Judges are bound by this rule before their court orders are
           valid;

                Where the trial court requests that a written judgment be prepared, and
                where the attorney who obtains the judgment prepares it and submits it to
                the judge for approval and entry, the judge's oral announcement of his
                decision and the reasons thereof have no effect; the judgment is not the act
                ofthe court until it is signed or approved and entered ofrecord. In re
                Marriaqe qf Dwan, App I't Dist. 1982, 64 lll. Dec 340, 108 lll. App 3d 808,
                439 N. E. 2d 1005.

       29)         That said Defendants and all parties associated in these matters
           unanimously with Contempt for the United States Constitution and this Federal
           Court without legal constitutional authority has demonstrated their resolve and
           necessary methodologies of what they are willing to do and have done upholding
           Terrorism and all related acts ignored and disregarded the facts affrdavits s;




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          a.   That said Judges of the lllinois Supreme Court and Circuit Court,
               Appellate Courts violated all Rules of law Canon Ethics, Code of
               Judicial Conduct Rule 62 Scott.377 Mass.364,386 N.E.2d 218,220
               (1979) See Lopez-Alexander, Unrepofted Order No. 85-279 (Colo. May 3,
               1985) (Judge removed for, inter alia, a persistent pattern of abuse of the
               contempt power. The Mayor of Denver accepted the findings of the
               Denver County Court Judicial Qualification Commission that the judge's
               conduct could not be characterized as mere mistakes or errors of law and
               that the conduct constituted willful misconduct in office and conduct
               prejudicial to the administration of justice that brings the judicial office into
               disrepute). Canon Ethics where there is a pattern of disregard or
               indifference, which warrant discipline.

          b. The Supreme Court of Georgia removed a judge from office for
               disregarding defendant's Constitutional rights, including refusing to set
               appeal bonds for two defendant's in timely fashion, issuing bench
               warrants without probable cause, and forcing a defendant to enter a guilty
               plea in the absence of Counsel. The Court stated, that the judge's
               "cavalier disregard of these defendants' basic and fundamental
               constitutional rights exhibits an intolerable degree of judicial
               incompetence, and a failure to comprehend and safeguard the very basis
               of our constitutional structure ld at 735 See also ln re Hammel, 668 N.E.
               2d 390 (N.Y. 1996). (Judge removed for improperly jailing defendants for
               their alleged failure to pay fines and make restitution which the judge had
               imposed, disregarding the defendant's basic constitutional rights).

   30.)       A judge's disrespect for the rules of court demonstrates disrespect for the
      law. Judges are disciplined under Canon 2Afor violating court rules and
      procedures. Judge ignored mandated witness order in attempt to accommodate
      witnesses'schedules; Citing Canon 2A the court noted, "[a] court's indifference to
      clearly stated rules breeds disrespect for and discontent with our justice system.
      Government can not demand respect of the laws by its citizens when its tribunals
      ignore those very same laws")


        U. S Sup Court Digest 24(11General Conspiracy

        U.S. 2003. Essence of a conspiracy is an agreement to commit an
        unlawful act.-U.S. v. Jimenez Recio, 123 S. Ct. 819, 537 U,S.270, 154
        L.Ed.2d 744, on remand 371F.3d 1093

             Agreement to commit an unlawful act, which constitutes the
        essence of a conspiracy, is a distinct evilthat exist and be punished
        whether or not the substantive crime ensues.-ld.
             Conspiracy poses a threat to the public over and above the threat
        of the commission of the relevant substantive crime. both because the
        combination in crime makes more likely the commission of other crimes
        and because it decreases the part from their path of criminalit:r.-ld.




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                 CONSPIRACY
             Fra.rd ma.;be in{erred {rom nature o{ acts complained o{, irrdivid..al arrd collective
             interest o{ alle5ed conspirators, situation, intimacg, and relatiou o{ parties at tinre o{
             commission o{ acts, aud 6enerallg all circuurstances preceding and atterrdiu5,
             culmiuationo{claimed conspiracq lllinois Rockford Corp. V.                Kulp, 1968,
             242 N.E.2d 228,41 tLL.2d 215.


                                                CAI{ONI
         A ;ud5e should uphold the integritg and indepeudeuce ol the judicianl.
       The inte6ritg and independence o{ jud5es depeod irr turr upon their acting
       without {ear or lavor. Althorgh judges shoold be independent, theq should
       complg with the law, as well as provisions o{ this code. Public con{idence in
       the impartialitg o{ the;u&cian; is maintain"dbu trhe adherence o{ each
       jod6. to this respousibilitg.Convers ,violatiou o{ this code&minishes
       public conlidence in the ju&ciarg and therebg does injury to the sgstem o{
       $ovemmentunderlaw.

 Adoption of E.L.. 'A VOID JUDGEMENT OR ORDER" is one that is entered by a
court lacking jurisdiction over the parties or the subject matter, or lacking the
inherent power to enter the particular order of judgment or where the ORDER
was procured by "FRAUD'. That no judge ever had proper jurisdiction on the
Plaintiff.

 Mississippi Comm'n on Judicial Performance v. Fletcher, 686 So. 2d 1075 (Miss.
 1996); Mississippi Comm'n on Judicial Performance v. Byers, 757 So. 2d 961
(Miss. 2000) inquiry concerning a judge, 462 S.E. 2d 728 (GA 1995) Dash, 564
s.E. 2d 672 5.C.2002).

       That certain Judg,es o{ the Illinois Democratic Machine partg have satis{ied
       bq the prepord.rarrce o{ evideuce and r:ret the lull criteria's o{ Biarrr.rr,
       Prejudice ard Cilril Rights Violations, Terrorists acts at Plainti{{, bq
       'Trespassin{l Lrpon the Laws" corroborating their roles en6laging in "Tr.usor"
       794 S.W.2d 092 (Mo.App.1990)'No sgstem o{ justice can lunction at its best
       or maintain broadpublic conlidence i{ a litigant c.o be compelled tosubmit
       his case iu a court where the liti5ant sincerelg believes the jud5e is
       incompetent or prejudicial               is the price to be paid {or a judicial
       sgstem that seeks to {ree a litigant {rom a leelin5 o{ oppressiou". State ex Rel.
                                     -{T}hat
       Md'[a'a V. Jones, 4725.W.2d 652 050-040 (Mo. App.1971) Indeed, the
       ri6ht to disqualifq a judge is'bne o{ the lcegstones o{ our le5al ad'rinistration
       edi{ice" State ex Rel. C-ampbell V. Cohn, 000 S.W.zd 5W-4Ol (Mo. App.
       1960).lt isvital topublic cou{idence in thelegal sgstem tLat tledecisions o{
       the court are not oulg {aia but also appear {air. Thus whetLer the



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        disquali{ication o{ a jud5e hin5es on a statute or mle in {avor o{ tLe ri5ht to
        disqualifq. A liberal coustnrction is necessarg i{ we wish to promote and
        maintaiu public con{idence in the ju&cial sgstem- Koho,606 S.W. at 401;
        State eo Rel. Ford Motor Co. V. fless S.W. 2d 147, 148 (Mo. App1967).

See   that is why, the Ku Klux Klan Act of 1871 (was enacted) - Section 1 (42 U.S.C.)
1983.
      "Of all the Civil Rights legislation enacted in the aftermath of the Civil War" none
has   had a greater contemporary impact than the Ku Klux Klan Act of 1871. The Act erew
out of a special one-paragraph message sent to the 42d Congress on March 23. 1871. bv
President Ulysses S. Grant" urgentlv requesting the enactment of legislation".

Section 2 (42U.S.C.) In the House of Representatives.
      "Congressional Debate of the second section of the Ku Klux Klan Act was more
extensive and enduring than that of Section 1: As oriqinallv presented. Sec. 2 made it a
felony for any "two or more persons" to conspire to commit ceftain enumerated crimes "in
violation of the riohts and privileoes. or immunities of any person. to which he is entitled
under the Constitution and laws of the United States.
        "Throughout the debates, supporters of the Act made repeated references to the
depredations of the Ku Klux Klan; Victims of these atrocities included not only blacks but
white Republicans as well. The crimes that were perpetrated, therefore, were not viewed
as isolated occurrences, but as part of an "Organized Conspiracy....Political in its origin
and aims", "crimes perpetrated by concert and agreement, by men in large numbers
acting with a common purpose for the injury of a certain class of citizens entertaining
ceftain political principles, id, a|457 (remarks of Rep. Coburn). See also e.9., id. At 437
 (remarks of Rep. Cobb) ("None but Democrats belong or can belong to these societies")
et al.,
         "Where these gangs of Assassins show themselves the rest of the people look on,
if not with sympathy, at least with forbearance. The boasted courage of the South is not
courage in their presence. Sheriffs, having eyes to see, see not;judges, having ears to
hear, hear not; witnesses conceal the truth or falsify it; grand or petit juries act as if they
might be accomplices. ln the presence of these gangs all the apparatus and machinery
of civil government, all the processes of justice, skulk away as if government and justice
were crimes and feared detection. Among the most dangerous things an injured pafty
can do is to appeal to justice. Of the uncounted scores and hundreds of atrocious
mutilations and murders it is credibly stated that not one has been punished. Cong.
Globe, supra note 2, app. At 78 (remarks of Rep. Perry). (While murder is stalking
 abroad in disguise, while whippings and lynching's and banishment have been visited
 upon unoffending American citizens, the localadministrations have been found
 inadequate or unwilling to apply the proper corrective) et al., .... And the State made no
 successfuleffort to bring the guilty to punishment or afford protection or redress to the
 outraged and innocent. ")


            REPORTING JUDICIAL MISCONDUCT
            CANON 3D (1)
              Under Section 3D (1). a judge who receives information that indicates "a
            substantial likelihood that another judge "has violated the Code o.f Judicial
            "should take appropriate action". The Canon does not require the judge to


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                  hold a hearing and make a definitive decision that a violation has occurred
                  before the reporting requirement is triggered and at least one state's judicial
                  ethics committee has advised that the reporting requirement is triggered when
                                                                             oosubstantial
                  the judge has "sufficient information" to conclude that a                issue" has
                  been raised that aviolation has occurred, Mass. Comm. On Judicial Ethics, Op.
                  2002-04 (2002)

            "Appropriate action" may include direct communication with the judge who has
        committed the violation and reporting the violation to the appropriate or other agency or
        body. See Commentary to Canon 3D (1). "Appropriate authority" is the authority with
        responsibility for initiation of disciplinary proceedings with respect to the violation
        reported. Some jurisdictions' rules specify to whom a judge must report misconduct. For
         instance, Massachusetts Rule 3D (1) provides that if a judge becomes aware of another
        judge's unprofessional conduct he must report his knowledge to the Chief Justice of the
        Massachusetts Supreme Court and the court of which the judge in question is a member.

                  Note that the term "knowledge", as defined in the Terminology Section,
                  denotes actual knowledge of the fact in question and as such, a person's
                  knowledge may be inferred from circumstances. In drafting Section 3D (1), the
                  Committee rejected the suggestion that the criteria of raising substantial
                  question as to honesty or trustworthiness be applied in the context of reporting
                  judicial misconduct as well, on the grounds that those criteria are implicit in
                  the present criterion of raising a substantial question as to a judge's fitness for
                   office.

                Under Section 4 of the Ku Klux Klan Act of 1871:
                The President had additional power in case of rebellion within a state to suspend
                the writ of habeas corpus and to declare and enforce marital law. Cong. Globe,
                supra note /. at 3/7. With respect to a definition of rebellion, Section 4 provided;

              "Whenever in any State or part of a State......unlawful combinations........shall be
              organized and armed, and so numerous and powerful as to be able, by violence,
              to either overthrow or set at defiance the constituted authorities of such State, or
              when the constituted authorities are in complicity with or shall connive at the
              unlaMul purposes of such powerful and armed combinations; and whenever, by
              reason of either or all of the causes aforesaid, the conviction of such offenders
              and the preservation of the public safety shall become.... lmpracticable, in every
              such case such combinations shall be deemed a rebellion against the
              Government of the United States...."


        Wherefore the Foregoing Reasons, Plaintiff prays for the following relief:

         1.) Plaintiff requests that this Honorable Court accept Jurisdiction or alternatively
             transfer this matter to a Circuit outside of lllinois and lnvoke authority
             lnstanter;




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        2.) lmpose Sanctions/Remands against and all parties for Contempt of the
            United States Constitution for their crimes against the Plaintiff/Government;

        3.) Punitive Damages, due to Fraud Criminal Conspiracies Civil Rights Violations
            by all applicable parties associated in said matter;

        4.) Have this case tried by a Jury and not ruled by any bench trial;

        5.) Order the United States Marshall's to effect service on all named

        6.) Order all Defendants to absorb the costs of the enforcement of this matter;

        7.) Order a Hearing to ascertain all Defendants responsible for Perjury and
            others for their roles in said Treason offenses perpetrated in State and
            County Courts for Remands lnstanter;

        8.) Order that all orders entered against the Plaintiff entered by alljudges for the
            foregoing acts within without jurisdiction be Void lnstanter;

        9.) That all parties be charged with Terrorism Treason and other related crimes
            for ignoring acts recorded within;

        10   ) Alternatively, allow Plaintiff to amend said Complaint to satisfy this
             Honorable Court's requirement for jurisdiction;

        11   )   Order that said parties be tried as Domestic Terrorists;

        That because of the heinous acts Plaintiff have been harmed by said Civil Rights
        Violations and no one objected to said assertions put before any tribunal, Plaintiff
        is seeking $6.9 Million Dollars as punitive damages; Smith v. Wade.461 U.S. 30,
        35, 103 S. Ct. 1625, 1629,75 L Ed 2d 632 (1983) Justice Brennen "The threshold
        standard for allowing punitive damages for reckless or callous indifference applies even
        in a case, such as here, where the underlying standard of liability for compensatory
        damages because is also one of recklessness. There is no merit to petitioner's
        contention that actual malicious intent should be the standard for punitive damages
        because the deterrent purposes of such damages would be served only if the threshold
        for those damages is higher in every case than the underlying standard for liability in the
        first instance. The common-law rule is othenruise, and there is no reason to depaft from
        the common-law rule in the context of {1983}"

        Finally, this Affidavit is best closed by a jurist who has stated"; Citing Canon 2A the
        court noted, "[a] coufi's indifference to clearly stated rules breeds disrespect for and
        discontent with our justice system. Government cannot demand respect of the laws by its
        citizens when its tribunals ignore those very same laws")

                       Federal Court FEDERAL JUDGE GETTLEMAN: stated, Tuesday
                       March 10, 2009, where he found Superintendent of police Jody Weiss in
                       Contempt of Court and Ordered the City to Pay $100,000.00, "No one is-



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                       above the Law", he cited a 1928 decision by Supreme Court Justice Louis
                       Brandeis, that said, "If the Government becomes the law breaker, it breeds
                       Contempt for the Law, It invites everyman to become a law unto himself. It
                       invites Anarchy."

        The Chicago Daily Law Bulletin, Wednesday April 26,2006, Page 1, Illinois Political
        Machines help breed corruption, Associated Press writer Deanna Bellandi states, "illinois
        is apparently a Petri dish.for corruption. It is a real breeding ground".

        That Chicago is the most Corrupt CiN in America^ Huffington Post, Internet Newspaper,
        February23,20l2;UniversityofIllinoisProfessorDickSimpSon,,,W
               lllinois are the governor's mansion.....and the Cit.v Council Chambers in
        zones in
        Chicago." Simp;on a former Chicago Alderman told the AP "no other State can match
        r.rs.   "


        Corruption
        Chicago has a long history of political corruption,trtt dating to the incorporation of the city in
        'l$JJ.nzt lt has been a de facto monolithic entity of the Democratic Party from the mid 20th
        century onward.n3ltl4t Research released by the University of lllinois at Chicago reports that
        Chicago and Cook County's judicial district recorded 45 public corruption convictions for
        2013, and 1642 convictions since 1976, when the Department of Justice began compiling
        statistics. This prompted many media outlets to declare Chicago the "corruption capital of
        Ar"ri.r".,',urGradel and Simpson's Conupt lllinois (2015) provides the data behind Chicago's
        corrupt political gsl{qps.rtorttzr They found that a tabulation of federal public corruption
        convictions make Chicago "undoubtedly the most corrupt city in our nation",ttat with the cost
        of corruption "at least" $500 million per year.rel


                                     FURTHER AFFIANTH SAYETH NOT

                                                                         Respectfully Subm itted



                                                                            Carlen Colbet
                                                                        1805 Jamestown Cir.
                                                                       Hoffman Estates, IL. 60169




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